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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Doris Agbefe
                                                  Plaintiff,
v.                                                              Case No.: 1:19−cv−04397
                                                                Honorable Gary Feinerman
Board Of Education Of The City Of Chicago
                                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 30, 2021:


         MINUTE entry before the Honorable Gary Feinerman:Status hearing held and
continued to 12/3/2021 at 9:00 a.m. By 11/26/2021, the parties shall file a joint status
report addressing: (1) the discovery they have completed thus far; (2) the discovery that
remains to be taken; (3) whether they would like a settlement conference with the
Magistrate Judge; and (4) whether there is a need for the 12/3/2021 status hearing. For the
reasons stated on the record, Defendant's motion to reassign [83] is denied without
prejudice. The stay of discovery [88] is lifted, though discovery remains limited to written
discovery. Attorneys/Parties should appear for the 12/3/2021 hearing by calling the
Toll−Free Number: (877) 336−1828, Access Code: 4082461. Members of the public and
media will be able to call in to listen to this hearing (use toll free number). Please, please
be sure to keep your phone on mute when you are not speaking. Persons granted remote
access to proceedings are reminded of the general prohibition against photographing,
recording, and rebroadcasting of court proceedings. Violation of these prohibitions may
result in sanctions, including removal of court issued media credentials, restricted entry to
future hearings, denial of entry to future hearings, or any other sanctions deemed
necessary by the Court.Mailed notice.(jlj, )




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